                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE


                     NOTICE REGARDING CONSENT OF THE PARTIES
       Pursuant to 28 U.S.C. § 636(c), Fed.R.Civ.P. 73, and Local Rule 73.01, this Court has
designated the Magistrate Judge of this District to conduct trials and otherwise dispose of any
civil case that is filed in this Court. After an order of transfer is entered in a case, the Magistrate
Judge may conduct any and all proceedings in the case, including the conduct of a jury or
non−jury trial, and may order the entry of a final judgment in accordance with 28 U.S.C. §
636(c); and Fed.R.Civ.P. 73. In the course of conducting such proceedings, a Magistrate Judge
may hear and determine any pre−trial and post−trial motions, including case−dispositve
motions.
      If all parties agree to the assignment of the case to the Magistrate Judge, an appeal, if any,
shall be taken directly to the U. S. Court of Appeals as provided in 28 U.S.C. § 636(c)(3) and
Rule 73(c). Further review may be taken to the U. S. Supreme Court by writ of certiorari.
      If all parties do not consent to a transfer of jurisdiction to a Magistrate Judge, no consent
form will be filed with the Clerk and no party will reveal to the Clerk or any judge the position
of any party on the issue of consent.
    The consent form is attached and a fillable form is available on the court's website at
www.tnmd.uscourts.gov under the forms section. When filing the Notice of Consent, in the
CM/ECF filing system, use the event listed under Notices, Notice of Consent of the Parties.
    DO NOT RETURN THE ATTACHED FORM UNLESS ALL PARTIES CONSENT
TO PROCEED BEFORE THE MAGISTRATE JUDGE.




         Case 3:18-cv-00965 Document 2 Filed 09/26/18 Page 1 of 2 PageID #: 18
                              UNITED STATES DISTRICT COURT
                                                            for the
                              MIDDLE DISTRICT OF TENNESSEE
James Swain Rieves
                                            Plaintiff,
v.                                                                           Case No.: 3:18−cv−00965

Smyrna, Town of, et al.
                                            Defendant,


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

     Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily consent.


     You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge
who may otherwise be involved with your case.


     Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post−trial proceedings.


            Parties' printed names                       Signatures of parties or attorneys                   Dates

__________________________________             __________________________________                  ___________________

__________________________________             __________________________________                  ___________________

__________________________________             __________________________________                  ___________________

__________________________________             __________________________________                  ___________________


                                                   Reference Order

      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:   ___________________                                       ___________________________________________
                                                                                 District Judge's signature

                                                                  ___________________________________________
                                                                                   Printed name and title


     DO NOT FILE THIS FORM UNLESS ALL PARTIES CONSENT TO PROCEED BEFORE THE
MAGISTRATE JUDGE. When filing the Notice of Consent, in the CM/ECF filing system, use the event listed
under Notices, Notice of Consent of the Parties.


           Case 3:18-cv-00965 Document 2 Filed 09/26/18 Page 2 of 2 PageID #: 19
